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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                  February 08, 2019
                         UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

MOVE TEXAS CIVIC FUND, et al,                 §
                                              §
        Plaintiffs,                           §
VS.                                           § CIVIL ACTION NO. 3:19-CV-41
                                              §
DAVID WHITLEY, et al,                         §
                                              §
        Defendants.                           §

                             ORDER SETTING HEARING

       An in-person hearing is set in this matter at the following date, time, and place:
                          February 22, 2019 at 1:30 p.m. CST
                               United States Courthouse
                              601 Rosenberg, Sixth Floor
                                Galveston, Texas 77550

       Counsel for the plaintiffs shall notify the defendants of this hearing within ten
days of the entry of this order and shall certify to the Court in writing that the
defendants have been so notified. Failure to file the certification as ordered may result
in sanctions as deemed appropriate by the Court, including the denial of the plaintiffs’
request for a preliminary injunction. At the hearing, all parties shall be prepared to
present argument and evidence on the plaintiffs’ motion for a preliminary injunction
(Dkt. 10).
       It is so ORDERED.
       SIGNED at Galveston, Texas, this 8th day of February, 2019.


                                              ___________________________________
                                              George C. Hanks Jr.
                                              United States District Judge




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